         Case 3:20-cv-01645-WQH-MSB Document 7 Filed 09/18/20 PageID.91 Page 1 of 3

                                                                             FILED
     I   Anton Ewing                                                         SEP 1 8 2020           I
         3077 Clairemont Dr. #372                                      CLERK J :3. 0-ST";!CT COl..,HT
 2       San Diego, CA 92117                                       $0l, Th::.~~.i JISTRiC7 c:: CAL.IFCRNI:,,
                                                                   BY                              DEPUTY
         (619)719-9640
 3       anton@antonewing.com
 4       Collette Stark
         2175 Cowley Way
 5       San Diego, CA 92110
         (619) 347-0726
 6       videosolutions@me.com
 7

 8       Plaintiffs in pro per
 9

10

II
                     THE UNITED STATES FEDERAL DISTRICT COURT
12
                            SOUTHERN DISTRICT OF CALIFORNIA
13

14                                                      Civil Case No. 20-cv-0 1645-WQH-
         Anton Ewing, an individual,
                                                        MSB
15
         Collette Stark, an individual.                 NOTICE OF SETTLEMENT
16

17                    Plaintiffs,
18             vs.
19
         Travel Transparency,LLC_
20       a California limited liability company;
         et al.
21
                      Defendants.
22
         TO THE CLERK OF THE COURT, THE COURT AND ALL PARTIES:
23
               May is please the Court, Plaintiffs Anton Ewing and Collette Stark hereby
24
         give Notice of Settlement between Defendants Travel Transparency, LLC, a
25




                                                   -I

                                                                                                               20CV1645
     Case 3:20-cv-01645-WQH-MSB Document 7 Filed 09/18/20 PageID.92 Page 2 of 3



      California limited liability company, Derek Gough, an individual Diversified

 2   Global Ventures, Inc, an Arizona corporation. The parties expect to have the
 3
     settlement completed within 60 days and will file a joint motion to dismiss at that
 4
     time.
 5

 6   Dated: September 16, 2020
 7

 8
                                                   Anton Ewing
 9                                                 Pro per
                                                   anton
10

11
                                                   Collette Stark   ~
12                                                     ISi Collette Stark
                                                   Collette Stark, Plaintiff
13
                                                   Pro per
14                                                 videosolutions@me.com

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                                                                                           20CV1645
     Case 3:20-cv-01645-WQH-MSB Document 7 Filed 09/18/20 PageID.93 Page 3 of 3



                                   PROOF OF SERVICE

 2   I, Anton Ewing, am over 18, and a pro per plaintiff in this matter. I have filed this
     Notice of Settlement and had it served on Defendants as follows:
 3

 4
     Civil Case No. 20-cv-01645-WQH-MSB has been mailed to:

 5   I have also mailed by US Mail, postage pre-paid, first class to:

 6   Tim Nash, Esq.
 7
     8898 Navajo Rd, #C354
     San Diego, CA 92119
 8

 9
     I swear under penalty of perjury that the above was served as stated.
10   Dated: September 16, 2020
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